                     Case 09-42299                              Doc 1                 Filed 11/07/09 Entered 11/07/09 13:48:10                                                               Desc Main
Official Form 1 (1/08)                                                                  Document     Page 1 of 39
                                                             United States Bankruptcy Court                                                                                                   Voluntary Petition
                                                         NORTHERN DISTRICT OF ILLINOIS
 Name of Debtor             (if individual, enter Last, First, Middle):                                               Name of Joint Debtor                 (Spouse)(Last, First, Middle):


 Gierasimiuk, Joanna
 All Other Names used by the Debtor in the last 8 years                                                               All Other Names used by the Joint Debtor in the last 8 years
 (include married, maiden, and trade names):                                                                          (include married, maiden, and trade names):
 fka Joanna Tylka


 Last four digits of Soc. Sec. or Indvidual-Taxpayer I.D. (ITIN) No./Complete EIN                                     Last four digits of Soc. Sec. or Indvidual-Taxpayer I.D. (ITIN) No./Complete EIN
 (if more than one, state all):   4895                                                                                (if more than one, state all):
 Street Address of Debtor (No. & Street, City, and State):                                                            Street Address of Joint Debtor                     (No. & Street, City, and State):
 16747 S. Morel Street
 Lockport IL
                                                                                              ZIPCODE                                                                                                            ZIPCODE
                                                                                              60441
 County of Residence or of the                                                                                        County of Residence or of the
 Principal Place of Business:                    Will                                                                 Principal Place of Business:
 Mailing Address of Debtor                  (if different from street address):                                       Mailing Address of Joint Debtor                     (if different from street address):

 SAME
                                                                                              ZIPCODE                                                                                                            ZIPCODE


 Location of Principal Assets of Business Debtor                                                                                                                                                                  ZIPCODE
 (if different from street address above): NOT APPLICABLE


 Type of Debtor             (Form of organization)
                                                                             Nature of Business                                               Chapter of Bankruptcy Code Under Which
                                                                          (Check one box.)                                                    the Petition is Filed  (Check one box)
               (Check one box.)
                                                                          Health Care Business                                  Chapter 7                                          Chapter 15 Petition for Recognition
     Individual (includes Joint Debtors)
                                                                          Single Asset Real Estate as defined                   Chapter 9                                           of a Foreign Main Proceeding
     See Exhibit D on page 2 of this form.
                                                                          in 11 U.S.C. § 101 (51B)                              Chapter 11
     Corporation (includes LLC and LLP)                                                                                         Chapter 12                                         Chapter 15 Petition for Recognition
                                                                          Railroad                                                                                                 of a Foreign Nonmain Proceeding
     Partnership                                                                                                                Chapter 13
                                                                          Stockbroker
     Other (if debtor is not one of the above                                                                                              Nature of Debts        (Check one box)
                                                                          Commodity Broker
     entities, check this box and state type of
                                                                                                                             Debts are primarily consumer debts, defined                                    Debts are primarily
     entity below                                                         Clearing Bank
                                                                                                                             in 11 U.S.C. § 101(8) as "incurred by an                                       business debts.
                                                                          Other                                              individual primarily for a personal, family,
                                                                                                                             or household purpose"
                                                                            Tax-Exempt Entity
                                                                              (Check box, if applicable.)                                               Chapter 11 Debtors:
                                                                          Debtor is a tax-exempt organization         Check one box:
                                                                          under Title 26 of the United States             Debtor is a small business as defined in 11 U.S.C. § 101(51D).
                                                                          Code (the Internal Revenue Code).               Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).

                                  Filing Fee         (Check one box)                                                  Check if:
     Full Filing Fee attached                                                                                           Debtor’s aggregate noncontingent liquidated debts (excluding debts owed
    Filing Fee to be paid in installments (applicable to individuals only). Must attach                                 to insiders or affiliates) are less than $2,190,000.
    signed application for the court’s consideration certifying that the debtor is unable                             -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- --
    to pay fee except in installments. Rule 1006(b). See Official Form 3A.                                            Check all applicable boxes:
                                                                                                                           A plan is being filed with this petition
    Filing Fee waiver requested (applicable to chapter 7 individuals only). Must attach
    signed application for the court's consideration. See Offi cial Form 3B.                                               Acceptances of the plan were solicited prepetition from one or more
                                                                                                                           classes of creditors, in accordance with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                                                                     THIS SPACE IS FOR COURT USE ONLY

        Debtor estimates that funds will be available for distribution to unsecured creditors.
        Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
        distribution to unsecured creditors.
 Estimated Number of Creditors

 1-49               50-99             100-199            200-999             1,000-         5,001-          10,001-           25,001-            50,001-            Over
                                                                             5,000          10,000          25,000            50,000             100,000            100,000
 Estimated Assets
  $0 to             $50,001 to        $100,001 to        $500,001            $1,000,001     $10,000,001     $50,000,001       $100,000,001       $500,000,001       More than
  $50,000           $100,000          $500,000           to $1               to $10         to $50          to $100           to $500            to $1 billion      $1 billion
                                                         million             million        million         million           million
 Estimated Liabilities
  $0 to             $50,001 to        $100,001 to        $500,001            $1,000,001     $10,000,001     $50,000,001       $100,000,001       $500,000,001       More than
  $50,000           $100,000          $500,000           to $1               to $10         to $50          to $100           to $500            to $1 billion      $1 billion
                                                         million             million        million         million           million
                  Case 09-42299                   Doc 1           Filed 11/07/09 Entered 11/07/09 13:48:10                                                   Desc Main
Official Form 1 (1/08)                                              Document     Page 2 of 39                                                                         FORM B1, Page   2
 Voluntary Petition                                                                          Name of Debtor(s):
  (This page must be completed and filed in every case)
                                                                                             Joanna Gierasimiuk
                         All Prior Bankruptcy Cases Filed Within Last 8 Years                       (If more than two, attach additional sheet)
 Location Where Filed:                                                               Case Number:                                                 Date Filed:
 NONE
 Location Where Filed:                                                               Case Number:                                                 Date Filed:


  Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor                                  (If more than one, attach additional sheet)
 Name of Debtor:                                                                      Case Number:                                                Date Filed:
 NONE
 District:                                                                            Relationship:                                               Judge:


                                   Exhibit A                                                                                             Exhibit B
   (To be completed if debtor is required to file periodic reports                                                      (To be completed if debtor is an individual
   (e.g., forms 10K and 10Q) with the Securities and Exchange                                                           whose debts are primarily consumer debts)
   Commission pursuant to Section 13 or 15(d) of the Securities                        I, the attorney for the petitioner named in the foregoing petition, declare that I
   Exchange Act of 1934 and is requesting relief under Chapter 11)                     have informed the petitioner that [he or she] may proceed under chapter 7, 11, 12
                                                                                       or 13 of title 11, United States Code, and have explained the relief available under
                                                                                       each such chapter. I further certify that I have delivered to the debtor the notice
                                                                                       required by 11 U.S.C. §342(b).
       Exhibit A is attached and made a part of this petition                          X     /s/ Frank J. Kokoszka                                                         11/06/2009
                                                                                              Signature of Attorney for Debtor(s)                                             Date


                                                                                        Exhibit C

 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health
 or safety?
         Yes, and exhibit C is attached and made a part of this petition.
         No

                                                                                    Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)

           Exhibit D completed and signed by the debtor is attached and made part of this petition.
 If this is a joint petition:
         Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                                    Information Regarding the Debtor - Venue
                                                                          (Check any applicable box)

     Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
     preceding the date of this petition or for a longer part of such 180 days than in any other District.
     There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
     Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has no
     principal place of business or assets in the United States but is a defendant in an action proceeding [in a federal or state court] in this District, or
     the interests of the parties will be served in regard to the relief sought in this District.

                                               Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                   (Check all applicable boxes.)
             Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)



                                                                                               (Name of landlord that obtained judgment)


                                                                                               (Address of landlord)

             Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
             entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

             Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day
             period after the filing of the petition.

             Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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Official Form 1 (1/08)                                             Document     Page 3 of 39                                                           FORM B1, Page   3
 Voluntary Petition                                                                 Name of Debtor(s):
   (This page must be completed and filed in every case)
                                                                                     Joanna Gierasimiuk
                                                                             Signatures
                    Signature(s) of Debtor(s) (Individual/Joint)                                     Signature of a Foreign Representative
I declare under penalty of perjury that the information provided in this
petition is true and correct.                                                    I declare under penalty of perjury that the information provided in this
[If petitioner is an individual whose debts are primarily consumer debts         petition is true and correct, that I am the foreign representative of a debtor
and has chosen to file under chapter 7] I am aware that I may proceed            in a foreign proceeding, and that I am authorized to file this petition.
under chapter 7, 11, 12, or 13 of title 11, United States Code,
understand the relief available under each such chapter, and choose to           (Check only one box.)
proceed under chapter 7.
                                                                                      I request relief in accordance with chapter 15 of title 11, United States
[If no attorney represents me and no bankruptcy petition preparer
                                                                                      Code. Certified copies of the documents required by 11 U.S.C. § 1515 are
signs the petition] I have obtained and read the notice required by
                                                                                      attached.
11 U.S.C. §342(b)
                                                                                      Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
I request relief in accordance with the chapter of title 11, United States            chapter of title 11 specified in this petition. A certified copy of the order
Code, specified in this petition.                                                     granting recognition of the foreign main proceeding is attached.
 X /s/ Joanna Gierasimiuk
     Signature of Debtor                                                         X
                                                                                      (Signature of Foreign Representative)
 X
     Signature of Joint Debtor

                                                                                      (Printed name of Foreign Representative)
     Telephone Number (if not represented by attorney)
                                                                                      11/06/2009
     11/06/2009                                                                       (Date)
     Date

                                  Signature of Attorney*
                                                                                               Signature of Non-Attorney Bankruptcy Petition Preparer
 X /s/ Frank J. Kokoszka                                                        I declare under penalty of perjury that: (1) I am a bankruptcy petition
     Signature of Attorney for Debtor(s)                                        preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                compensation and have provided the debtor with a copy of this document
     Frank J. Kokoszka 6201436
     Printed Name of Attorney for Debtor(s)
                                                                                and the notices and information required under 11 U.S.C. §§ 110(b), 110(h),
                                                                                and 342(b); and, (3) if rules or guidelines have been promulgated pursuant to
     Kokoszka & Janczur, P. C.                                                  11 U.S.C. § 110(h) setting a maximum fee for services chargeable by
     Firm Name                                                                  bankruptcy petition preparers, I have given the debtor notice of the
                                                                                maximum amount before preparing any document for filing for a debtor or
     140 South Dearborn                                                         accepting any fee from the debtor, as required in that section. Official Form
     Address                                                                    19 is attached.
     Suite 1610
     Chicago IL                  60603
                                                                                 Printed Name and title, if any, of Bankruptcy Petition Preparer
     312-443-9600
     Telephone Number
                                                                                 Social-Security number (If the bankruptcy petition preparer is not an
     11/06/2009                                                                  individual, state the Social-Security number of the officer, principal,
     Date                                                                        responsible person or partner of the bankruptcy petition preparer.) (Required
                                                                                 by 11 U.S.C. § 110.)
 *In a case in which § 707(b)(4)(D) applies, this signature also
 constitutes a certification that the attorney has no knowledge after
 an inquiry that the information in the schedules is incorrect.                  Address

                    Signature of Debtor (Corporation/Partnership)
                                                                                X
I declare under penalty of perjury that the information provided in
this petition is true and correct, and that I have been authorized to
file this petition on behalf of the debtor.                                         Date
                                                                                 Signature of bankruptcy petition preparer or officer, principal, responsible
The debtor requests the relief in accordance with the chapter of title           person, or partner whose Social-Security number is provided above.
11, United States Code, specified in this petition.                             Names and Social-Security numbers of all other individuals who prepared or
                                                                                assisted in preparing this document unless the bankruptcy petition preparer is
                                                                                not an individual.
 X
     Signature of Authorized Individual



     Printed Name of Authorized Individual
                                                                                 If more than one person prepared this document, attach additional sheets
                                                                                 conforming to the appropriate official form for each person.
     Title of Authorized Individual                                              A bankruptcy petition preparer’s failure to comply with the provisions of title 11
                                                                                 and the Federal Rules of Bankruptcy Procedure may result in fines or
     11/06/2009                                                                  imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.
     Date
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B 1D (Official Form 1, Exhibit D) (12/08)
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                                            UNITED STATES BANKRUPTCY COURT
                                              NORTHERN DISTRICT OF ILLINOIS
                                                    EASTERN DIVISION

In re Joanna Gierasimiuk                                                                                                  Case No.
                                                                                                                          Chapter 7


                                            Debtor(s)




            EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                             CREDIT COUNSELING REQUIREMENT
     WARNING: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you cannot
do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens, you will lose
whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your case is dismissed and
you file another bankruptcy case later, you may be required to pay a second filing fee and you may have to take extra steps to stop
creditors' collection activities.


       Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate
Exhibit D. Check one of the five statements below and attach any documents as directed.

                 1. Within the 180 days before the filing of my bankruptcy case,            I received a briefing from a credit counseling
agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit
counseling and assisted me in performing a related budget analysis, and I have a certificate from the agency describing the
services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan developed through the agency.


                 2. Within the 180 days before the filing of my bankruptcy case,            I received a briefing from a credit counseling
agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit
counseling and assisted me in performing a related budget analysis, but I do not I have a certificate from the agency describing
the services provided to me. You must file a copy of a certificate from the agency describing the services provided to you and
a copy of any debt repayment plan developed through the agency no later than 15 days after your bankruptcy case is filed.


                 3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the
services during the five days from the time I made my request, and the following exigent circumstances merit a temporary waiver
of the credit counseling requirement so I can file my bankruptcy case now.
[Summarize exigent circumstances here.]




   If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days after you
file your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together with a copy of any
debt management plan developed through the agency. Failure to fulfill these requirements may result in dismissal of your case.
Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days. Your case may also be
dismissed if the court is not satisfied with your reasons for filing your bankruptcy case without first receiving a credit counseling
briefing.
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 B 1D (Official Form 1, Exhibit D) (12/08)
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               4. I am not required to receive a credit counseling briefing because of: [Check the applicable statement]
[Must be accompanied by a motion for determination by the court.]
                           Incapacity. (Defined in 11 U.S.C. § 109 (h)(4) as impaired by reason of mental illness or mental deficiency
                  so as to be incapable of realizing and making rational decisions with respect to financial responsibilities.);
                           Disability. (Defined in 11 U.S.C. § 109 (h)(4) as physically impaired to the extent of being unable, after
                  reasonable effort, to participate in a credit counseling briefing in person, by telephone, or through the Internet.);
                           Active military duty in a military combat zone.


                  5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement
 of 11 U.S.C. § 109(h) does not apply in this district.


         I certify under penalty of perjury that the information provided above is true and correct.

 Signature of Debtor:       /s/ Joanna Gierasimiuk
 Date:    11/06/2009
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B22A (Official Form 22A) (Chapter 7) (12/08)

                                                                                          According to the information required to be entered on this statement
                                                                                            (check one box as directed in Part I, III, or VI of this statement):
  In re   Joanna Gierasimiuk
                     Debtor(s)                                                                      The presumption arises.
                                                                                                    The presumption does not arise.
  Case Number:
                                                                                                   The presumption is temporarily inapplicable.
                     (If known)
                                                                                           (Check the box as directed in Parts I, III, and VI of this statement.)

                                  CHAPTER 7 STATEMENT OF CURRENT MONTHLY INCOME
                                                          AND MEANS-TEST CALCULATION

In addition to Schedules I and J, this statement must be completed by every individual chapter 7 debtor, whether or not filing jointly. Unless the
exclusion in Line 1C applies, joint debtors may complete a single statement. If the exclusion in Line 1C applies, each joint filer must complete a
separate statement.

                                               Part I. MILITARY AND NON-CONSUMER DEBTORS
          Disabled Veterans. If you are a disabled veteran described in the Declaration in this Part IA, (1) check the box at the
          beginning of the Declaration, (2) check the box for “The presumption does not arise” at the top of this statement, and (3) complete the
          verification in Part VIII. Do not complete any of the remaining parts of this statement.
  1A
            Declaration of Disabled Veteran. By checking this box, I declare under penalty of perjury that I am a disabled veteran (as
          defined in 38 U.S.C. § 3741(1)) whose indebtedness occurred primarily during a period in which I was on active duty (as
          defined in 10 U.S.C. § 101(d)(1)) or while I was performing a homeland defense activity (as defined in 32 U.S.C. §901(1)).

          Non-consumer Debtors. If your debts are not primarily consumer debts, check the box below and complete the verification in Part
    1B    VIII. Do not complete any of the remaining parts of this statement.

             Declaration of non-consumer debts. By checking this box, I declare that my debts are not primarily consumer debts.
           Reservists and National Guard Members; active duty or homeland defense activity. Members of a reserve component of the
          Armed Forces and members of the National Guard who were called to active duty (as defined in 10 U.S.C. § 101(d)(1)) after
          September 11, 2001, for a period of at least 90 days, or who have performed homeland defense activity (as defined in 32 U.S.C. § 901(1))
          for a period of at least 90 days, are excluded from all forms of means testing during the time of active duty or homeland defense activity
          and for 540 days thereafter (the “exclusion period”). If you qualify for this temporary exclusion, (1) check the appropriate boxes and
          complete any required information in the Declaration of Reservists and National Guard Members below, (2) check the box for “The
          presumption is temporarily inapplicable” at the top of this statement, and (3) complete the verification in Part VIII.
          During your exclusion period you are not required to complete the balance of this form, but you must complete the form
          no later than 14 days after the date on which your exclusion period ends, unless the time for filing a motion raising the
          means test presumption expires in your case before your exclusion period ends.


              Declaration of Reservists and National Guard Members. By checking this box and making the appropriate entries below, I
  1C
          declare that I am eligible for a temporary exclusion from means testing because, as a member of a reserve component of the Armed
          Forces or the National Guard

                a.      I was called to active duty after September 11, 2001, for a period of at least 90 days and
                                      I remain on active duty /or/
                                      I was released from active duty on ________, which is less than 540 days before this bankruptcy case was filed;

                                 OR

                b.      I am performing homeland defense activity for a period of at least 90 days /or/
                        I performed homeland defense activity for a period of at least 90 days, terminating on _______, which is less than 540 days
                        before this bankruptcy case was filed.
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B22A (Official Form 22A) (Chapter 7) (12/08)       - Cont.                                                                                                2
                       Part II. CALCULATION OF MONTHLY INCOME FOR § 707(b)(7) EXCLUSION
         Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
         a.    Unmarried. Complete only Column A ("Debtor’s Income") for Lines 3-11.
         b.      Married, not filing jointly, with declaration of separate households. By checking this box, debtor declares under
         penalty of perjury: "My spouse and I are legally separated under applicable non-bankruptcy law or my spouse and I are
         living apart other than for the purpose of evading the requirements of § 707(b)(2)(A) of the Bankruptcy Code."
         Complete only Column A ("Debtor’s Income") for Lines 3-11.
         c.   Married, not filing jointly, without the declaration of separate households set out in Line 2.b above.        Complete both
  2
         Column A ("Debtor’s Income") and Column B ("Spouse’s Income") for Lines 3-11.
         d.    Married, filing jointly. Complete both Column A ("Debtor’s Income") and Column B ("Spouse’s Income") for
         Lines 3-11.
         All figures must reflect average monthly income received from all sources, derived during the six calendar
                                                                                                                                       Column A   Column B
         months prior to filing the bankruptcy case, ending on the last day of the month before the filing. If the amount
         of monthly income varied during the six months, you must divide the six month total by six, and enter the                     Debtor's   Spouse's
         result on the appropriate line.
                                                                                                                                        Income     Income
  3      Gross wages, salary, tips, bonuses, overtime, commissions.                                                                   $0.00       $4,000.00

         Income from the operation of a business, profession, or farm.              Subtract Line b from Line a and enter
         the difference in the appropriate column(s) of Line 4. If you operate more than one business, profession or
         farm, enter aggregate numbers and provide details on an attachment. Do not enter a number less than zero.
  4      Do not include any part of the business expenses entered on Line b as a deduction in Part V.
           a.        Gross receipts                                                    $0.00
           b.        Ordinary and necessary business expenses                          $0.00
                                                                                                                                      $0.00       $0.00
           c.        Business income                                                   Subtract Line b from Line a

          Rent and other real property income.           Subtract Line b from Line a and enter the difference
         in the appropriate column(s) of Line 5. Do not enter a number less than zero.     Do not include
         any part of the operating expenses entered on Line b as a deduction in Part V.
  5        a.        Gross receipts                                                    $0.00
           b.        Ordinary and necessary operating expenses                         $0.00
           c.        Rent and other real property income                               Subtract Line b from Line a                    $0.00       $0.00

  6      Interest, dividends, and royalties.                                                                                          $0.00       $0.00

  7      Pension and retirement income.                                                                                               $0.00       $0.00

         Any amounts paid by another person or entity, on a regular basis, for the household expenses of
  8      the debtor or the debtor's dependents, including child support paid for that purpose.
         Do not include alimony or separate maintenance payments or amounts paid by your spouse if Column B is
         icompleted.                                                                                                                  $0.00       $0.00

         Unemployment compensation.              Enter the amount in the appropriate column(s) of Line 9.
         However, if you contend that unemployment compensation received by you or your spouse
         was a benefit under the Social Security Act, do not list the amount of such compensation in
  9      Column A or B, but instead state the amount in the space below:

          Unemployment compensation claimed to
          be a benefit under the Social Security Act                $0.00
                                                             Debtor ________                    $0.00
                                                                                        Spouse _________                              $0.00       $0.00

          Income from all other sources.        Specify source and amount. If necessary, list additional sources on a
         separate page.    Do not include alimony or separate maintenance payments paid by your spouse
 10      if Column B is completed, but include all other payments of alimony or separate maintenance.
         Do not include any benefits received under the Social Security Act or payments received as a victim of a war
         crime, crime against humanity, or as a victim of international or domestic terrorism.

                a.                                                                             0
                b.                                                                             0

          Total and enter on Line 10                                                                                                  $0.00       $0.00
         Subtotal of Current Monthly Income for § 707(b)(7).        Add Lines 3 thru 10 in
 11      Column A, and, if Column B is completed, add Lines 3 through 10 in Column B. Enter the
         total(s).                                                                                                                    $0.00       $4,000.00

         Total Current Monthly Income for § 707(b)(7).       If Column B has been completed,
 12      add Line 11, Column A to Line 11, Column B, and enter the total. If Column B has not been
         completed, enter the amount from Line 11, Column A.                                                                          $4,000.00
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B22A (Official Form 22A) (Chapter 7) (12/08)      - Cont.                                                                                            3


                                        Part III. APPLICATION OF § 707(b)(7) EXCLUSION
 13      Annualized Current Monthly Income for § 707(b)(7).             Multiply the amount from Line 12 by
         the number 12 and enter the result.                                                                                            $48,000.00

         Applicable median family income.          Enter the median family income for the applicable state and
         household size. (This information is available by family size at   www.usdoj.gov/ust/      or from the clerk of
 14      the bankruptcy court.)
                                                                                                                                        $81,465.00
                                                 ILLINOIS
         a. Enter debtor’s state of residence: ______________________                                       4
                                                                      b. Enter debtor’s household size: __________

         Application of Section 707(b)(7).      Check the applicable box and proceed as directed.

           The amount on Line 13 is less than or equal to the amount on Line 14.              Check the box for "The presumption does
 15      not arise" at the top of page 1 of this statement, and complete Part VIII; do not complete Parts IV, V, VI, or VII.

            The amount on Line 13 is more than the amount on Line 14.               Complete the remaining parts of this
         statement.

                      Complete Parts IV, V, VI, and VII of this statement only if required. (See Line 15).

                      Part IV. CALCULATION OF CURRENT MONTHLY INCOME FOR § 707(b)(2)
 16      Enter the amount from Line 12.                                                                                                 $

         Marital adjustment. If you checked the box at Line 2.c, enter on Line 17 the total of any income listed in Line 11,
         Column B that was NOT paid on a regular basis for the household expenses of the debtor or the debtor’s
         dependents. Specify in the lines below the basis for excluding the Column B income (such as payment of the
         spouse’s tax liability or the spouse’s support of persons other than the debtor or the debtor’s dependents) and the
         amount of income devoted to each purpose. If necessary, list additional adjustments on a separate page. If you did
         not check box at Line 2.c, enter zero.
 17
           a.                                                                                               $

           b.                                                                                               $

           c.                                                                                               $

          Total and enter on Line 17                                                                                                    $

 18      Current monthly income for § 707(b)(2).        Subtract Line 17 from Line 16 and enter the result.                             $




                                  Part V. CALCULATION OF DEDUCTIONS FROM INCOME
                  Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)
         National Standards: food, clothing, and other items.            Enter in Line 19A the “Total” amount from IRS National
 19A     Standards for Food, Clothing and Other Items for the applicable household size. (This information is available at
          www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)
                                                                                                                                        $

         National Standards: health care.            Enter in Line a1 below the amount from IRS National Standards for Out-of-Pocket
        Health Care for persons under 65 years of age, and in Line a2 the IRS National Standards for Out-of-Pocket Health
        Care for persons 65 years of age or older. (This information is available at www.usdoj.gov/ust/ or from the clerk
        of the bankruptcy court.) Enter in Line b1 the number of members of your household who are under 65 years of age,
        and enter in Line b2 the number of members of your household who are 65 years of age or older. (The total number
        of household members must be the same as the number stated in Line 14b.) Multiply Line a1 by Line b1 to obtain a
        total amount for household members under 65, and enter the result in Line c1. Multiply Line a2 by Line b2 to obtain a
 19B    total amount for household members 65 and older, and enter the result in Line c2. Add Lines c1 and c2 to obtain a total
        health care amount, and enter the result in Line 19B.

          Household members under 65 years of age                           Household members 65 years of age or older

         a1.     Allowance per member                                      a2.    Allowance per member

         b1.     Number of members                                         b2.    Number of members
         c1.     Subtotal                                                  c2.    Subtotal                                              $

          Local Standards: housing and utilities; non-mortgage expenses.                  Enter the amount of the
 20A     IRS Housing and Utilities Standards; non-mortgage expenses for the applicable county and household size.
         (This information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court).                               $
                  Case 09-42299              Doc 1          Filed 11/07/09 Entered 11/07/09 13:48:10                            Desc Main
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B22A (Official Form 22A) (Chapter 7) (12/08)            - Cont.                                                                                 4
          Local Standards: housing and utilities; mortgage/rent expenses.                   Enter, in Line a below, the
         amount of the IRS Housing and Utilities Standards; mortgage/rent expense for your county and household size
         (this information is available at www.usdoj.gov/ust/       or from the clerk of the bankruptcy court); enter on
         Line b the total of the Average Monthly Payments for any debts secured by your home, as stated in Line
         42; subtract Line b from Line a and enter the result in Line 20B.    Do not enter an amount less than zero.
 20B
          a.       IRS Housing and Utilities Standards; mortgage/rental expense                              $
          b.       Average Monthly Payment for any debts secured by your
                   home, if any, as stated in Line 42                                                        $
          c.       Net mortgage/rental expense                                                               Subtract Line b from Line a.   $

         Local Standards: housing and utilities; adjustment.             If you contend that the process set out in
         Lines 20A and 20B does not accurately compute the allowance to which you are entitled under the IRS
         Housing and Utilities Standards, enter any additional amount to which you contend you are entitled, and
         state the basis for your contention in the space below:
 21



                                                                                                                                            $

         Local Standards: transportation; vehicle operation/public transportation expense.
         You are entitled to an expense allowance in this category regardless of whether you pay the expenses of
         operating a vehicle and regardless of whether you use public transportation.

         Check the number of vehicles for which you pay the operating expenses or for which the operating
         expenses are included as a contribution to your household expenses in Line 8.
  22A
              0     1     2 or more.
         If you checked 0, enter on Line 22A the “Public Transportation” amount from IRS Local Standards: Transportation.
         If you checked 1 or 2 or more, enter on Line 22A the “Operating Costs” amount from IRS Local Standards:
         Transportation for the applicable number of vehicles in the applicable Metropolitan Statistical Area or Census
         Region. (These amounts are available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)                             $

         Local Standards: transportation; additional public transportation expense.                     If you pay the operating expenses
         for a vehicle and also use public transportation, and you contend that you are entitled to an additional deduction for
 22B     your public transportation expenses, enter on Line 22B the “Public Transportation” amount from IRS Local Standards:
         Transportation. (This amount is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)                        $

         Local Standards: transportation ownership/lease expense; Vehicle 1.              Check the number
         of vehicles for which you claim an ownership/lease expense. (You may not claim an ownership/lease
         expense for more than two vehicles.)

              1     2 or more.

         Enter, in Line a below, the “Ownership Costs” for “One Car” from the IRS Local Standards: Transportation
        (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the Average
 23      Monthly Payments for any debts secured by Vehicle 1, as stated in Line 42; subtract Line b from
         Line a and enter the result in Line 23.    Do not enter an amount less than zero.


         a.       IRS Transportation Standards, Ownership Costs                      $
         b.       Average Monthly Payment for any debts secured by Vehicle 1,
                                                                                     $                                                      $
                  as stated in Line 42
         c.        Net ownership/lease expense for Vehicle 1                        Subtract Line b from Line a.

          Local Standards: transportation ownership/lease expense; Vehicle 2.
          Complete this Line only if you checked the "2 or more" Box in Line 23.
         Enter, in Line a below, the “Ownership Costs” for “One Car” from the IRS Local Standards: Transportation
         (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of
         the Average Monthly Payments for any debts secured by Vehicle 2, as stated in Line 42; subtract Line b
 24      from Line a and enter the result in Line 24. Do not enter an amount less than zero.
           a.        IRS Transportation Standards, Ownership Costs                                  $
           b.        Average Monthly Payment for any debts secured by Vehicle 2,
                     as stated in Line 42                                                           $
           c.        Net ownership/lease expense for Vehicle 2
                                                                                                    Subtract Line b from Line a.            $
               Case 09-42299              Doc 1         Filed 11/07/09 Entered 11/07/09 13:48:10                                   Desc Main
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B22A (Official Form 22A) (Chapter 7) (12/08)       - Cont.                                                                                        5
         Other Necessary Expenses: taxes.             Enter the total average monthly expense that you actually incur
         for all federal, state and local taxes, other than real estate and sales taxes, such as income taxes, self
 25
         employment taxes, social-security taxes, and Medicare taxes.           Do not include real estate or sales
         taxes.

        Other Necessary Expenses: mandatory payroll deductions for employment.                         Enter the total average monthly
 26     payroll deductions that are required for your employment, such as retirement contributions, union dues, and uniform costs.
        Do not include discretionary amounts, such as voluntary 401(k) contributions.
                                                                                                                                              $

          Other Necessary Expenses: life insurance.            Enter total average monthly premiums that you actually
 27      pay for term life insurance for yourself. Do not include premiums for insurance on your dependents,
                                                                                                                                              $
         for whole life or for any other form of insurance.
         Other Necessary Expenses: court-ordered payments.                     Enter the total monthly amount that you are required
 28      to pay pursuant to the order of a court or administrative agency, such as spousal or child support payments.
         Do not include payments on past due support obligations included in Line 44.                                                         $

          Other Necessary Expenses: education for employment or for a physically or mentally
         challenged child.          Enter the total average monthly amount that you actually expend for education that is a
 29
         condition of employment and for education that is required for a physically or mentally challenged dependent
         child for whom no public education providing similar services is available.                                                          $

 30      Other Necessary Expenses: childcare.               Enter the total average monthly amount that you actually expend on
         childcare - such as baby-sitting, day care, nursery and preschool.      Do not include other educational payments.                   $

         Other Necessary Expenses: health care.                   Enter the total average monthly amount that you actually expend on health
 31      care that is required for the health and welfare of yourself or your dependents, that is not reimbursed by insurance or
         paid by a health savings account, and that is in excess of the amount entered in Line 19B.
         Do not include payments for health insurance or health savings accounts listed in Line 34.                                           $

          Other Necessary Expenses: telecommunication services.                       Enter the total average monthly amount that you
         actually pay for telecommunication services other than your basic home telephone and cell phone service -- such as
 32      pagers, call waiting, caller id, special long distance, or internet service -- to the extent necessary for your health
         and welfare or that of your dependents.         Do not include any amount previously deducted.
                                                                                                                                              $

 33      Total Expenses Allowed under IRS Standards.              Enter the total of Lines 19 through 32                                      $


                                  Subpart B: Additional Living Expense Deductions
                        Note: Do not include any expenses that you have listed in Lines 19-32
         Health Insurance, Disability Insurance and Health Savings Account Expenses.                      List the monthly expenses in the
         categories set out in lines a-c below that are reasonably necessary for yourself, your spouse, or your dependents.

           a.     Health Insurance                 $
           b.     Disability Insurance             $
           c.     Health Savings Account           $
 34
          Total and enter on Line 34                                                                                                          $
          If you do not actually expend this total amount,         state your actual total average monthly expenditures in the
          space below:
           $

         Continued contributions to the care of household or family members.                  Enter the total average actual
 35      monthly expenses that you will continue to pay for the reasonable and necessary care and support of an
         elderly, chronically ill, or disabled member of your household or member of your immediate family who is
         unable to pay for such expenses.                                                                                                     $

         Protection against family violence.              Enter the total average reasonably necessary monthly expenses that you actually
 36      incurred to maintain the safety of your family under the Family Violence Prevention and Services Act or
         other applicable federal law. The nature of these expenses is required to be kept confidential by the court.                         $

        Home energy costs.       Enter the total average monthly amount, in excess of the allowance specified by IRS
 37     Local Standards for Housing and Utilities, that you actually expend for home energy costs.   You must
        provide your case trustee with documentation of your actual expenses, and you must demonstrate that
        reasonable and necessary and not already accounted for in the IRS Standards.                                                          $
               Case 09-42299               Doc 1        Filed 11/07/09 Entered 11/07/09 13:48:10                                     Desc Main
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B22A (Official Form 22A) (Chapter 7) (12/08)       - Cont.                                                                                       6
         Education expenses for dependent children less than 18.                 Enter the total average monthly expenses that
         you actually incur, not to exceed $137.50 per child, for attendance at a private or public elementary or
 38      secondary school by your dependent children less than 18 years of age. You must provide your case trustee
         with documentation of your actual expenses, and you must explain why the amount claimed is
         reasonable and necessary and not already accounted for in the IRS Standards.                                                        $

         Additional food and clothing expense.             Enter the total average monthly amount by which your food and
         clothing expenses exceed the combined allowances for food and clothing (apparel and services) in the IRS National
 39      Standards, not to exceed 5% of those combined allowances. (This information is available at        www.usdoj.gov/ust/
         or from the clerk of the bankruptcy court.) You must demonstrate that the additional amount claimed is
         reasonable and necessary.                                                                                                           $

 40      Continued charitable contributions.              Enter the amount that you will continue to contribute in the
         form of cash or financial instruments to a charitable organization as defined in 26 U.S.C. § 170(c)(1)-(2).                         $

 41      Total Additional Expense Deductions under § 707(b).               Enter the total of Lines 34 through 40                            $

                                                Subpart C: Deductions for Debt Payment
         Future payments on secured claims.             For each of your debts that is secured by an interest in proprerty that
         you own, list the name of the creditor, identify the property securing the debt, state the Average Monthly
         Payment, and check whether the payment includes taxes or insurance. The Average Monthly Payment is the
         total of all amounts scheduled as contractually due to each Secured Creditor in the 60 months following the
         filing of the bankruptcy case, divided by 60. If necessary, list additional entries on a separate page. Enter
         the total of the Average Monthly Payments on Line 42.
                    Name of Creditor              Property Securing the Debt                         Average               Does payment
                                                                                                     Monthly               include taxes
                                                                                                     Payment               or insurance?
 42
          a.                                                                              $                                 yes       no
          b.                                                                              $                                 yes       no
          c.                                                                              $                                 yes       no

          d.                                                                              $                                 yes       no
          e.                                                                              $                                 yes       no

                                                                                           Total: Add Lines a - e                            $


         Other payments on secured claims.                 If any of the debts listed in Line 42 are secured by your primary
         residence, a motor vehicle, or other property necessary for your support or the support of your dependents,
         you may include in your deduction 1/60th of any amount (the "cure amount") that you must pay the creditor
         in addition to the payments listed in Line 42, in order to maintain possession of the property. The cure amount
         would include any sums in default that must be paid in order to avoid repossession or foreclosure. List and
         total any such amounts in the following chart. If necessary, list additional entries on a separate page.

                  Name of Creditor               Property Securing the Debt                   1/60th of the Cure Amount
 43
          a.                                                                                  $
          b.                                                                                  $
          c.                                                                                  $
          d.                                                                                  $
          e.                                                                                  $

                                                                                                  Total: Add Lines a - e                     $

         Payments on prepetition priority claims.              Enter the total amount, divided by 60, of all priority claims, such
 44      as priority tax, child support and alimony claims, for which you were liable at the time of your bankruptcy filing.
         Do not include current obligations, such as those set out in Line 28.                                                               $
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B22A (Official Form 22A) (Chapter 7) (12/08)       - Cont.                                                                                                 7
         Chapter 13 administrative expenses.            If you are eligible to file a case under Chapter 13, complete
         the following chart, multiply the amount in line a by the amount in line b, and enter the resulting
         administrative expense.


          a.     Projected average monthly Chapter 13 plan payment.                          $
 45              Current multiplier for your district as determined under                x
          b.
                 schedules issued by the Executive Office for United States
                 Trustees. (This information is available at www.usdoj.gov/ust/
                 or from the clerk of the bankruptcy court.)

          c.     Average monthly administrative expense of Chapter 13 case                Total: Multiply Lines a and b                        $


 46      Total Deductions for Debt Payment.           Enter the total of Lines 42 through 45.                                                  $

                                              Subpart D: Total Deductions from Income
 47      Total of all deductions allowed under § 707(b)(2).             Enter the total of Lines 33, 41, and 46.                               $

                                   Part VI. DETERMINATION OF § 707(b)(2) PRESUMPTION
 48      Enter the amount from Line 18 (Current monthly income for § 707(b)(2))                                                                $

 49      Enter the amount from Line 47 (Total of all deductions allowed under § 707(b)(2))                                                     $

 50      Monthly disposable income under § 707(b)(2).               Subtract Line 49 from Line 48 and enter the
         result                                                                                                                                $

 51      60-month disposable income under § 707(b)(2).               Multiply the amount in Line 50 by the
         number 60 and enter the result.                                                                                                       $

         Initial presumption determination.         Check the applicable box and proceed as directed.
            The amount on Line 51 is less than $6,575            Check the box for "The presumption does not arise" at the top of page 1 of
         this statement, and complete the verification in Part VIII. Do not complete the remainder of Part VI.
 52         The amount set forth on Line 51 is more than $10,950.                  Check the box for "The presumption arises" at the top of
         page 1 of this statement, and complete the verification in Part VIII. You may also complete Part VII. Do not complete the remainder of Part VI.
            The amount on Line 51 is at least $6,575, but not more than $10,950.                 Complete the remainder of Part
         VI (Lines 53 through 55).

 53      Enter the amount of your total non-priority unsecured debt                                                                            $

 54      Threshold debt payment amount.                Multiply the amount in Line 53 by the number 0.25 and enter
         the result.                                                                                                                           $

         Secondary presumption determination.                Check the applicable box and proceed as directed.

            The amount on Line 51 is less than the amount on Line 54.                 Check the box for "The presumption does not arise" at
 55      the top of page 1 of this statement, and complete the verification in Part VIII.
            The amount on Line 51 is equal to or greater than the amount on Line 54.                     Check the box for "The presumption
         arises" at the top of page 1 of this statement, and complete the verification in Part VIII. You may also complete Part VII.

                                              PART VII. ADDITIONAL EXPENSE CLAIMS
         Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the
         health and welfare of you and your family and that you contend should be an additional deduction from your current
         monthly income under § 707(b)(2)(A)(ii)(I). If necessary, list additional sources on a separate page. All figures should reflect
         your average monthly expense for each item. Total the expenses.
                  Expense Description                                                   Monthly Amount
 56
           a.                                                                            $
           b.                                                                            $
           c.                                                                            $
                                              Total: Add Lines a, b, and c               $
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B22A (Official Form 22A) (Chapter 7) (12/08)       - Cont.                                                                                    8
                                                             Part VIII: VERIFICATION
         I declare under penalty of perjury that the information provided in this statement is true and correct.   (If this a joint case,
         both debtors must sign.)

                11/6/2009
         Date: ________________________             /s/ Joanna Gierasimiuk
                                        Signature: _____________________________________________________________________
 57
                                                       (Debtor)
                11/6/2009
         Date: ________________________ Signature: _____________________________________________________________________
                                                       (Joint Debtor, if any )
                   Case 09-42299
FORM B6A (Official Form 6A) (12/07)
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In re Joanna Gierasimiuk                                                                              ,                 Case No.
                        Debtor(s)                                                                                                                      (if known)


                                                  SCHEDULE A-REAL PROPERTY

Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a cotenant
community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for the debtor’s
own benefit. If the debtor is married, state whether the husband, wife, both, or the marital community own the property by placing an “H,” “W,” “J,” or “C” in
the column labeled “Husband, Wife, Joint, or Community.” If the debtor holds no interest in real property, write “None” under “Description and Location of
Property.”
Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G-Executory Contracts
and Unexpired Leases.

If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity claims to
hold a secured interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as
Exempt.

                                                                                                                            Current
              Description and Location of Property                              Nature of Debtor's                                               Amount of
                                                                                                                             Value
                                                                               Interest in Property                    of Debtor's Interest,
                                                                                                                                               Secured Claim
                                                                                                        Husband--H     in Property Without
                                                                                                           Wife--W        Deducting any
                                                                                                           Joint--J     Secured Claim or
                                                                                                      Community--C          Exemption


16747 S. Morel Street                                                                                             J     $ 200,000.00           $ 200,000.00
Lockport, IL 60441




No continuation sheets attached                                                                  TOTAL $                 200,000.00
                                                                         (Report also on Summary of Schedules.)
                        Case 09-42299
B6B (Official Form 6B) (12/07)
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In re Joanna Gierasimiuk                                                                                     ,                  Case No.
                                                  Debtor(s)                                                                                                         (if known)


                                                       SCHEDULE B-PERSONAL PROPERTY
Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place an
“x” in the appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly identified with
the case name, case number, and the number of the category. If the debtor is married, state whether the husband, wife, both, or the marital community
own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G-Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.” If the
property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor
child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                                                                                                         Current
               Type of Property                    N             Description and Location of Property                                                     Value
                                                                                                                                                   of Debtor's Interest,
                                                   o                                                                           Husband--H          in Property Without
                                                                                                                                   Wife--W            Deducting any
                                                   n                                                                                                Secured Claim or
                                                                                                                                  Joint--J
                                                   e                                                                         Community--C               Exemption


1. Cash on hand.                                       Cash on Hand                                                                                              $ 20.00
                                                       Location: In debtor's possession


2. Checking, savings or other financial                Checking Account                                                                    J                     $ 65.00
   accounts, certificates of deposit, or shares
   in banks, savings and loan, thrift, building        Location: Harris Bank
   and loan, and homestead associations, or
   credit unions, brokerage houses, or
   cooperatives.

                                                       Checking Account                                                                    J                    $ 500.00
                                                       Location: Bank of America


3. Security deposits with public utilities,        X
   telephone companies, landlords, and
   others.
4. Household goods and furnishings,                    Basic Used Furniture                                                                J              $ 1,500.00
   including audio, video, and computer
   equipment.                                          Location: In debtor's possession


5. Books, pictures and other art objects,              Artwork                                                                                                  $ 100.00
   antiques, stamp, coin, record, tape,
   compact disc, and other collections or              Location: In debtor's possession
   collectibles.



6. Wearing apparel.                                    Wearing Apparel                                                                                          $ 500.00
                                                       Location: In debtor's possession


7. Furs and jewelry.                                   Wedding Ring                                                                                       $ 1,000.00
                                                       Location: In debtor's possession


8. Firearms and sports, photographic, and          X
   other hobby equipment.




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In re Joanna Gierasimiuk                                                                                ,     Case No.
                                                   Debtor(s)                                                                                 (if known)


                                                        SCHEDULE B-PERSONAL PROPERTY
                                                                          (Continuation Sheet)

                                                                                                                                 Current
               Type of Property                     N            Description and Location of Property                             Value
                                                                                                                            of Debtor's Interest,
                                                    o                                                         Husband--H    in Property Without
                                                                                                                  Wife--W      Deducting any
                                                    n                                                                        Secured Claim or
                                                                                                                 Joint--J
                                                    e                                                       Community--C         Exemption

9. Interests in insurance policies. Name            X
   insurance company of each policy and
   itemize surrender or refund value of each.
10. Annuities. Itemize and name each issuer.        X

11. Interest in an education IRA as                 X
    defined in 26 U.S.C. 530(b)(1) or under
    a qualified State tuition plan as defined in
    26 U.S.C. 529(b)(1). Give particulars.
    (File separately the record(s) of any such
    interest(s). 11 U.S.C. 521(c).)

12. Interests in IRA, ERISA, Keogh, or other        X
    pension or profit sharing plans. Give
    particulars.
13. Stock and interests in incorporated and         X
    unincorporated businesses. Itemize.

14. Interests in partnerships or joint ventures.    X
    Itemize.

15. Government and corporate bonds and              X
    other negotiable and non-negotiable
    instruments.
16. Accounts Receivable.                            X

17. Alimony, maintenance, support, and              X
    property settlements to which the debtor
    is or may be entitled. Give particulars.
18. Other liquidated debts owed to debtor           X
    including tax refunds. Give particulars.

19. Equitable or future interests, life estates,    X
    and rights or powers exercisable for the
    benefit of the debtor other than those
    listed in Schedule of Real Property.

20. Contingent and non-contingent interests         X
    in estate of a decedent, death benefit
    plan, life insurance policy, or trust.
21. Other contingent and unliquidated claims        X
    of every nature, including tax refunds,
    counterclaims of the debtor, and rights to
    setoff claims. Give estimated value of
    each.
22. Patents, copyrights, and other intellectual     X
    property. Give particulars.

23. Licenses, franchises, and other general         X
    intangibles. Give particulars.

24. Customer lists or other compilations            X
    containing personally identifiable
    information (as described in 11 U.S.C.
    101(41A)) provided to the debtor by
    individuals in connection with obtaining
    a product or service from the debtor
    primarily for personal, family, or
    household purposes.
25. Automobiles, trucks, trailers and other         X
    vehicles and accessories.




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In re Joanna Gierasimiuk                                                                           ,              Case No.
                                              Debtor(s)                                                                                              (if known)


                                                   SCHEDULE B-PERSONAL PROPERTY
                                                                     (Continuation Sheet)

                                                                                                                                         Current
                 Type of Property              N            Description and Location of Property                                          Value
                                                                                                                                    of Debtor's Interest,
                                               o                                                                  Husband--H        in Property Without
                                                                                                                      Wife--W          Deducting any
                                               n                                                                                     Secured Claim or
                                                                                                                     Joint--J
                                               e                                                                Community--C             Exemption

26. Boats, motors, and accessories.            X

27. Aircraft and accessories.                  X

28. Office equipment, furnishings, and         X
    supplies.

29. Machinery, fixtures, equipment and         X
    supplies used in business.

30. Inventory.                                 X

31. Animals.                                   X

32. Crops - growing or harvested.              X
    Give particulars.

33. Farming equipment and implements.          X

34. Farm supplies, chemicals, and feed.        X

35. Other personal property of any kind not    X
    already listed. Itemize.




Page       3      of   3                                                                                     Total                          $ 3,685.00
                                                                                                                 (Report total also on Summary of Schedules.)
                                                                                                       Include amounts from any continuation sheets attached.
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B6C (Official Form 6C) (12/07)
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In re
        Joanna Gierasimiuk                                                                     ,                  Case No.
                          Debtor(s)                                                                                                               (if known)


                                    SCHEDULE C-PROPERTY CLAIMED AS EXEMPT

Debtor claims the exemptions to which debtor is entitled under:          Check if debtor claims a homestead exemption that exceeds $136,875.
(Check one box)
   11 U.S.C. § 522(b) (2)
   11 U.S.C. § 522(b) (3)




                                                                     Specify Law                               Value of                 Current
             Description of Property                                Providing each                             Claimed             Value of Property
                                                                      Exemption                               Exemption            Without Deducting
                                                                                                                                      Exemptions


Residence                                           735 ILCS 5/12-901                                                 $ 0.00           $ 200,000.00

Cash on Hand                                        735 ILCS 5/12-1001(b)                                            $ 20.00                   $ 20.00

Checking Account                                    735 ILCS 5/12-1001(b)                                          $ 500.00                    $ 500.00

Checking Account                                    735 ILCS 5/12-1001(b)                                            $ 65.00                    $ 65.00

Basic Used Furniture                                735 ILCS 5/12-1001(b)                                       $ 1,500.00                $ 1,500.00

Artwork                                             735 ILCS 5/12-1001(b)                                          $ 100.00                    $ 100.00

Wearing Apparel                                     735 ILCS 5/12-1001(a)                                          $ 500.00

Wedding Ring                                        735 ILCS 5/12-1001(b)                                       $ 1,000.00                $ 1,000.00




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B6D (Official Form 6D) (12/07)



In re Joanna Gierasimiuk                                                                            ,                                    Case No.
                                          Debtor(s)                                                                                                                              (if known)

                            SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

          State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims
secured by property of the debtor as of the date of filing of the petition. The complete account number of any account the debtor has with
the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of
secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other security interests.
          List creditors in alphabetical order to the extent practicable. If a minor child is the creditor, state the child's initials and the name
and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name.
See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the continuation sheet provided.
          If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,”
include the entity on the appropriate schedule of creditors, and complete Schedule H – Codebtors. If a joint petition is filed, state whether
the husband, wife, both of them, or the marital community may be liable on each claim by placing an “H,” “W,” “J,” or “C” in the column
labeled “Husband, Wife, Joint, or Community.”
          If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the
column labeled “Unliquidated.” If the claim is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in
more than one of these three columns.)
          Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the
boxes labeled “Total(s)” on the last sheet of the completed schedule. Report the total from the column labeled “Amount of Claim Without
Deducting Value of Collateral” also on the Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report
the total from the column labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain Liabilities and Related Data.



   Check this box if debtor has no creditors holding secured claims to report on this Schedule D.


                Creditor's Name and                           Date Claim was Incurred, Nature                                         Amount of Claim                   Unsecured
                  Mailing Address                             of Lien, and Description and Market                                           Without                   Portion, If Any
                                                                                                                    Unliquidated


              Including ZIP Code and
                                                                                                                    Contingent




                                                              Value of Property Subject to Lien
                                                  Co-Debtor




                                                                                                                                      Deducting Value
                                                                                                                    Disputed


                  Account Number
              (See Instructions Above.)                       H--Husband                                                                 of Collateral
                                                              W--Wife
                                                              J--Joint
                                                              C--Community
Account No:                                                   H                                                                         $ 177,849.00                               $ 0.00
Creditor # : 1                                                    1st Mortgage
AHMSI
PO Box 660029
Dallas TX 752466

                                                                  Value:   $ 200,000.00
Account No:                                                                                                                               $ 45,200.00                   $ 23,049.00
Creditor # : 2                                                    Second Mortgage
GMAC                                                              Residence
PO BOx 4622
Waterloo IA 50704

                                                                  Value:   $ 200,000.00
Account No:




                                                                  Value:

No continuation sheets attached                                                                                Subtotal $               $ 223,049.00                     $ 23,049.00
                                                                                                            (Total of this page)
                                                                                                                     Total $            $ 223,049.00                     $ 23,049.00
                                                                                                        (Use only on last page)
                                                                                                                                   (Report also on Summary of   (If applicable, report also on
                                                                                                                                   Schedules.)                  Statistical Summary of
                                                                                                                                                                Certain Liabilities and
                                                                                                                                                                Related Data)
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   In re Joanna Gierasimiuk                                                                                                 ,                               Case No.
                                                      Debtor(s)                                                                                                              (if known)
                     SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

           A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured
   claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code,
   and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the
   filing of the petition. Use a separate continuation sheet for each type of priority and label each with the type of priority.

         The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor
   chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor
   child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

         If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the
   appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them or the
   marital community may be liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is
   contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is
   disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

         Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the
   box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

          Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to
   priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with primarily consumer debts
   report this total also on the Statistical Summary of Certain Liabilities and Related Data.

          Report the total of amounts NOT entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not
   entitled to priority listed on this Schedule E in the box labeled "Total" on the last sheet of the completed schedule. Individual debtors with primarily consumer
   debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

          Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

   TYPES OF PRIORITY CLAIMS                       (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)

          Domestic Support Obligations
          Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
          responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11
          U.S.C. § 507(a)(1).

          Extensions of credit in an involuntary case
          Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
          appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

          Wages, salaries, and commissions
          Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
          independent sales representatives up to $10,950* per person earned within 180 days immediately preceding the filing of the original petition, or the
          cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

          Contributions to employee benefit plans
          Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation
          of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

          Certain farmers and fishermen
          Claims of certain farmers and fishermen, up to $5,400* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

          Deposits by individuals
          Claims of individuals up to $2,425* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that
          were not delivered or provided. 11 U.S.C. § 507(a)(7).

          Taxes and Certain Other Debts Owed to Governmental Units
          Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

          Commitments to Maintain the Capital of an Insured Depository Institution
          Claims based on commitments to FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the
          Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507(a)(9).
          Claims for Death or Personal Injury While Debtor Was Intoxicated
          Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a
          drug, or another substance. 11 U.S.C. § 507(a)(10).

*Amounts are subject to adjustment on April 1, 2010, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

                                                                                      No continuation sheets attached
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In re Joanna Gierasimiuk                                                                                          ,                                   Case No.
                                         Debtor(s)                                                                                                                                                        (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
      State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority
against the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with
the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials
and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11
U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation
sheet provided.

      If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the
appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the
marital community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."

     If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If
the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

        Report total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedules. Report this total also on the
Summary of Schedules, and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain
Liabilities and Related Data.
   Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.


         Creditor's Name, Mailing Address                                    Date Claim was Incurred,                                                                                           Amount of Claim
                                                                             and Consideration for Claim.




                                                                                                                                                                      Unliquidated
                                                        Co-Debtor




                  including Zip Code,




                                                                                                                                                       Contingent
                                                                              If Claim is Subject to Setoff, so State.




                                                                                                                                                                                     Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
Account No:                                                             2001-2008                                                                                                                     $ 8,004.00
Creditor # : 1                                                          Credit Card Purchases
Capital One
c/o Blatt, Hasenmiller,
125 South Wacker Drive, #400
Chicago IL 60606

Account No:                                                             2003-2008                                                                                                                        $ 900.00
Creditor # : 2                                                          Credit Card Purchases
GEMB/Banana Republic
P.O. Box 981400
El Paso TX 79998


Account No:                                                             2006-2008                                                                                                                        $ 867.00
Creditor # : 3                                                          Credit Card Purchases
HSBC Bank
P.O. Box 5253
Carol Stream IL 60197


Account No:                                                             2001-2008                                                                                                                     $ 1,206.00
Creditor # : 4                                                          Credit Card Purchases
HSBC/Carson
P.O. Box 15521
Wilmington DE 19805


     1 continuation sheets attached                                                                                                                  Subtotal $                                      $ 10,977.00
                                                                                                                                                                    Total $
                                                                       (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of Schedules
                                                                            and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related Data)
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In re Joanna Gierasimiuk                                                                                          ,                                   Case No.
                                           Debtor(s)                                                                                                                                                      (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


         Creditor's Name, Mailing Address                                    Date Claim was Incurred,                                                                                           Amount of Claim
                                                                             and Consideration for Claim.




                                                                                                                                                                      Unliquidated
                                                        Co-Debtor
                  including Zip Code,




                                                                                                                                                       Contingent
                                                                              If Claim is Subject to Setoff, so State.




                                                                                                                                                                                     Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
Account No:                                                                                                                                                                                              $ 740.00
Creditor # : 5
Illinois Collection Services
8231 Commerce Drive, Suite 100
Tinley Park IL 60487


Account No:                                                                                                                                                                                               $ 64.00
Creditor # : 6
Nationwide Credit Company
815 Commerce Drive
Oak Brook IL 60523


Account No:                                                                                                                                                                                              $ 742.00
Creditor # : 7
TNB - Target
P.O. Box 673
Minneapolis MN 55440-0693


Account No:                                                             2002-2008                                                                                                                        $ 690.00
Creditor # : 8                                                          Credit Card Purchases
WFNNB/Victoria's Secret
P.O. Box 182128
Columbus OH 43218


Account No:




Account No:




Sheet No.      1 of        1 continuation sheets attached to Schedule of                                                                             Subtotal $                                       $ 2,236.00
Creditors Holding Unsecured Nonpriority Claims                                                                                                                      Total $
                                                                       (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of Schedules                                    $ 13,213.00
                                                                            and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related Data)
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In re Joanna Gierasimiuk                                                                                       / Debtor             Case No.
                                                                                                                                                                        (if known)


                  SCHEDULE G-EXECUTORY CONTRACTS AND UNEXPIRED LEASES

Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State the nature of
debtor's interests in contract, i.e., "Purchaser," "Agent," etc. State whether debtor is the lessor or lessee of a lease. Provide the names and complete mailing
addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See,
11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).



   Check this box if the debtor has no executory contracts or unexpired leases.

               Name and Mailing Address,                                                        Description of Contract or Lease and
                 Including Zip Code, of                                                              Nature of Debtor's Interest.
                 Other Parties to Lease                                                State whether Lease is for Nonresidential Real Property.
                      or Contract.                                                      State Contract Number of any Government Contract.




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In re Joanna Gierasimiuk                                                                           / Debtor          Case No.
                                                                                                                                                  (if known)


                                                    SCHEDULE H-CODEBTORS

Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the debtor
in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state, commonwealth, or
territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the eight year
period immediately preeceding the commencement of the case, identify the name of the debtors spouse and of any former spouse who resides or resided
with the debtor in the community property state, commonwealth, or territory. Include all names used by the nondebtor spouse during the eight years
immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor, state the child's initials and the name and address of the
child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr.
P. 1007(m).
   Check this box if the debtor has no codebtors.

                        Name and Address of Codebtor                                                 Name and Address of Creditor




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In re Joanna Gierasimiuk                                                                                  ,                    Case No.
                                                 Debtor(s)                                                                                                (if known)


                          SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled “Spouse” must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is filed,
unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income calculated on this
form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.
   Debtor's Marital                                                                  DEPENDENTS OF DEBTOR AND SPOUSE
     Status:                       RELATIONSHIP(S):                                                                                AGE(S):
      Married                      Daughter                                                                                        1
                                   Daughter                                                                                        4
  EMPLOYMENT:                                                   DEBTOR                                                                       SPOUSE

  Occupation                     Stay at home mom                                                         Contractor
  Name of Employer               Unemployed                                                               I.G. Exteriors
  How Long Employed
  Address of Employer
  INCOME: (Estimate of average or projected monthly income at time case filed)                                            DEBTOR                             SPOUSE
  1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                            $                            0.00 $                      4,000.00
  2. Estimate monthly overtime                                                                             $                            0.00 $                          0.00
  3. SUBTOTAL                                                                                              $                            0.00 $                      4,000.00
  4. LESS PAYROLL DEDUCTIONS
      a. Payroll taxes and social security                                                                 $                            0.00      $                        0.00
      b. Insurance                                                                                         $                            0.00      $                        0.00
      c. Union dues                                                                                        $                            0.00      $                        0.00
      d. Other (Specify):                                                                                  $                            0.00      $                        0.00
  5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                        $                            0.00 $                             0.00
  6. TOTAL NET MONTHLY TAKE HOME PAY                                                                       $                            0.00      $                 4,000.00
  7. Regular income from operation of business or profession or farm (attach detailed statement)           $                            0.00      $                     0.00
  8. Income from real property                                                                             $                            0.00      $                     0.00
  9. Interest and dividends                                                                                $                            0.00      $                     0.00
  10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or that          $                            0.00      $                     0.00
  of dependents listed above.
  11. Social security or government assistance
    (Specify):                                                                                             $                            0.00 $                             0.00
  12. Pension or retirement income                                                                         $                            0.00 $                             0.00
  13. Other monthly income
    (Specify):                                                                                             $                            0.00 $                             0.00

  14. SUBTOTAL OF LINES 7 THROUGH 13                                                                          $                         0.00 $                             0.00
  15. AVERAGE MONTHLY INCOME                 (Add amounts shown on lines 6 and 14)                            $                         0.00 $                      4,000.00
  16. COMBINED AVERAGE MONTHLY INCOME:                 (Combine column totals                                                  $                  4,000.00
    from line 15; if there is only one debtor repeat total reported on line 15)
                                                                                                                  (Report also on Summary of Schedules and, if applicable, on
                                                                                                                   Statistical Summary of Certain Liabilities and Related Data)


  17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:




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In re Joanna Gierasimiuk                                                                                      ,                           Case No.
                                                   Debtor(s)                                                                                                                 (if known)

                          SCHEDULE J-CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR

      Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family. Prorate any payments made
bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly expenses calculated on this form may differ from the
deductions from income allowed on Form 22 A or 22C.
    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of expenditures labeled
    "Spouse."

 1. Rent or home mortgage payment (include lot rented for mobile home)                                                                                   $                  2,154.29
                                                                             .....................................................................................................................
       a. Are real estate taxes included?        Yes         No
       b. Is property insurance included?        Yes         No
 2. Utilities: a. Electricity and heating fuel                                                                                                            $                    100.00
                                                ..................................................................................................................................................
                b. Water and sewer                                                                                                                        $                      45.00
                c. Telephone       ..............................................................................................................................................................
                                                                                                                                                          $                    150.00
                d. Other      Cable & Internet                                                                                                            $                      50.00
                  Other
                             ...................................................................................................................................................................
                                                                                                                                                          $                        0.00

 3. Home maintenance (repairs and upkeep)                                                                                                                 $                       75.00
                                                   ..............................................................................................................................................
 4. Food                                                                                                                                             $                     400.00
 5. Clothing                                                                                                                                         $                      50.00
             .................................................................................................................................................................................
 6. Laundry and dry cleaning                                                                                                                         $                      50.00
 7. Medical and dental expenses                                                                                                                           $                      50.00
                                         ........................................................................................................................................................
 8. Transportation (not including car payments)                                                                                                           $                     400.00
 9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                                                                     $                       40.00
                                                                             ..................................................................................................................
 10. Charitable contributions                                                                                                                             $                      40.00
 11. Insurance (not deducted from wages or included in home mortgage payments)
              a. Homeowner's or renter's                                                                                                                  $                         0.00
                                             ....................................................................................................................................................
              b. Life                                                                                                                                     $                        0.00
              c. Health                                                                                                                                  $                         0.00
                           ......................................................................................................................................................................
              d. Auto                                                                                                                                 $                     200.00
              e. Other                                                                                                                                $                         0.00
                      ........................................................................................................................................................................
                Other                                                                                                                                 $                         0.00


  12. Taxes (not deducted from wages or included in home mortgage)
  (Specify)                                                                                                                                               $                        0.00
  13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the plan)
           a. Auto                                                                                                                                        $                         0.00
                          ........................................................................................................................................................................
           b. Other:      Husband's auto #1                                                                                                               $                     450.00
           c. Other:      Husband's auto #2                                                                                                                                     800.00
                          ........................................................................................................................................................................
                                                                                                                                                          $


  14. Alimony, maintenance, and support paid to others                                                                                                    $                        0.00
                                                              ..................................................................................................................................
  15. Payments for support of additional dependents not living at your home                                                                              $                        0.00
  16. Regular expenses from operation of business, profession, or farm (attach detailed statement)                                                       $                        0.00
                                                                                                         ....................................................................................
  17. Other:                                                                                                                                             $                        0.00
     Other:                                                                                                                                              $                        0.00
                  ...............................................................................................................................................................................
                                                                                                                                                                                   0.00
  18. AVERAGE MONTHLY EXPENSES Total lines 1-17. Report also on Summary of Schedules                                                                      $                 5,054.29
     and, if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
  19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year following the filing of this document:


  20. STATEMENT OF MONTHLY NET INCOME
      a. Average monthly income from Line 16 of Schedule I                                                                                                $               4,000.00
      b. Average monthly expenses from Line 18 above                                                                                                      $               5,054.29
      c. Monthly net income (a. minus b.)                                                                                                                 $             (1,054.29)
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                                               UNITED STATES BANKRUPTCY COURT
                                                 NORTHERN DISTRICT OF ILLINOIS
                                                       EASTERN DIVISION
   In re Joanna Gierasimiuk                                                                                                          Case No.
                                                                                                                                     Chapter 7


                                                                                                                       / Debtor




                                                              SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I, and J in the boxes
provided. Add the amounts from Schedules A and B to determine the total amount of the debtor's assets. Add the amounts of all claims from Schedules D, E, and F to determine
the total amount of the debtor's liabilities. Individual debtors must also complete the "Statistical Summary of Certain Liabilities and Related Data"if they file a case under chapter
7, 11, or 13.




                                             Attached            No. of
       NAME OF SCHEDULE                      (Yes/No)            Sheets                   ASSETS                           LIABILITIES                           OTHER

 A-Real Property
                                                Yes                 1           $           200,000.00

 B-Personal Property
                                                Yes                 3           $               3,685.00

 C-Property Claimed as
   Exempt
                                                Yes                 1

 D-Creditors Holding Secured
   Claims
                                                Yes                 1                                              $           223,049.00

 E-Creditors Holding
   Unsecured Priority Claims                    Yes                 1                                              $                      0.00
   (Total of Claims on Schedule E)

 F-Creditors Holding
   Unsecured Nonpriority Claims
                                                Yes                 2                                              $              13,213.00

 G-Executory Contracts and
   Unexpired Leases
                                                Yes                 1

 H-Codebtors
                                                Yes                 1

 I-Current Income of Individual
   Debtor(s)
                                                Yes                 1                                                                                 $               4,000.00

 J-Current Expenditures of
   Individual Debtor(s)
                                                Yes                 1                                                                                 $               5,054.29

                                  TOTAL                           13             $           203,685.00             $           236,262.00
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   In re Joanna Gierasimiuk                                                                                                      Case No.
                                                                                                                                 Chapter 7



                                                                                                               / Debtor



       STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C § 159)
 If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C. § 101(8), filing a case under
 chapter 7, 11, or 13, you must report all information requested below.


     Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any information here.



 This information is for statistical purposes only under 28 U.S.C. § 159.

 Summarize the following types of liabilities, as reported in the Schedules, and total them.

   Type of Liability                                                                                              Amount
   Domestic Support Obligations (from Schedule E)                                                                 $       0.00
   Taxes and Certain Other Debts Owed to Governmental Units (from Schedule E)                                     $       0.00
   Claims for Death or Personal Injury While Debtor Was Intoxicated (from Schedule E) (whether
   disputed or undisputed)                                                                                        $       0.00
   Student Loan Obligations (from Schedule F)                                                                     $       0.00
   Domestic Support, Separation Agreement, and Divorce Decree Obligations Not Reported on Schedule E              $       0.00
   Obligations to Pension or Profit-Sharing, and Other Similar Obligations (from Schedule F)                      $       0.00
                                                                                                     TOTAL        $       0.00

 State the following:


   Average Income (from Schedule I, Line 16)                                                                          $   4,000.00
   Average Expenses (from Schedule J, Line 18)                                                                        $   5,054.29
   Current Monthly Income (from Form 22A Line 12; OR, Form 22B Line 11; OR, Form 22C Line 20)                         $   4,000.00
 State the following:


   1. Total from Schedule D, "UNSECURED PORTION, IF ANY" column                                                                                  $   23,049.00
   2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY" column                                                     $   0.00
   3. Total from Schedule E, "AMOUNT NOT ENTITLED TO PRIORITY, IF ANY" column                                                                    $   0.00
   4. Total from Schedule F                                                                                                                      $   13,213.00
   5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                                                  $   36,262.00
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In re Joanna Gierasimiuk                                                                                                  Case No.
                                                         Debtor                                                                                               (if known)




                                DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                DECLARATION UNDER PENALTY OF PERJURY BY AN INDIVIDUAL DEBTOR

      I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of      14     sheets, and that they are true and
      correct to the best of my knowledge, information and belief.



      Date:   11/6/2009                                       Signature   /s/ Joanna Gierasimiuk
                                                                          Joanna Gierasimiuk




                                                                     [If joint case, both spouses must sign.]



     Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.
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In re: Joanna Gierasimiuk                                                                                                      Case No.
       fka Joanna Tylka



                                                               STATEMENT OF FINANCIAL AFFAIRS
            This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for both
spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or not a joint
petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole proprietor, partner,
family farmer, or self-employed professional, should provide the information requested on this statement concerning all such activities as well as the
individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the name and address of the child's
parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not diclose the child's name. See, 11 U.S.C. § 112 and Fed. R. Bankr. P.
1007(m).

           Questions 1-18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete Questions
19-25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer to any question, use
and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.



                                                                                DEFINITIONS
           "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within the six years immediately preceding the filing of this bankruptcy case, any of the
following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner, other than
a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor my also be "in business" for the purpose of
this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the debtor's primary
employment.

          "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives; corporations of
which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or equity securities of a
corporation debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11 U.S.C. §101.




          1. Income from employment or operation of business
 None     State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business, including part-time
          activities either as an employee or in independent trade or business, from the beginning of this calendar year to the date this case was commenced. State also the
          gross amounts received during the two years immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on the basis
          of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed,
          state income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is
          filed, unless the spouses are separated and a joint petition is not filed.)

AMOUNT                                                       SOURCE

Year to date:40,00
   Last Year:57,000
Year before:57,000


          2. Income other than from employment or operation of business
 None     State the amount of income received by the debtor other than from employment, trade, profession, operation of the debtor's business during the two years
          immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse separately. (Married debtors filing
          under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
           filed.)




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        3. Payments to creditors
None    Complete a. or b., as appropriate, and c.

        a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or services, and other debts to any
        creditor, made within 90 days immediately preceding the commencement of this case unless the aggregate value of all property that constitutes or is affected by
        such transfer is less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support obligation or as part of an
        alternative repayment schedule under a plan by an approved nonprofit budgeting and creditor counseling agency. (Married debtors filing under chapter 12 or chapter
        13 must include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




None    b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days immediately preceding the
        commencement of this case unless the aggregate value of all property that constitutes or is affected by such transfer is less than $5,475. If the debtor is an
        individual, indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support obligation or as part of an alternative
        repayment schedule under a plan by an approved nonprofit budgeting and creditor counseling agency. (Married debtors filingunder chapter 12 or chapter 13 must
        include payments and other transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition
        is not filed.)




None    c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors who are or were
        insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint petition is filed, unless the
        spouses are separated and a joint petition is not filed.)




        4. Suits and administrative proceedings, executions, garnishments and attachments
None    a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this bankruptcy case.
        (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint petition is filed, unless the
        spouses are separated and a joint petition is not filed.)

CAPTION OF SUIT                                                                             COURT OR AGENCY
AND CASE NUMBER                        NATURE OF PROCEEDING                                   AND LOCATION                                 STATUS OR DISPOSITION

Capital One v.                         Breach of Contract                                   Circuit Court- Will                            Pre-judgment
Joanna Gierasimiuk                                                                          County
09 SC 10310                                                                                 (Joliet)


None    b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately preceding the commencement
        of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both spouses whether or not a joint
        petition is filed, unless the spouses are separated and a joint petition is not filed.)




        5. Repossessions, foreclosures and returns
None    List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned to the seller, within
        one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
        property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




        6. Assignments and receiverships
None    a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this case. (Married debtors
        filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition is filed, unless the spouses are separated
        and a joint petition is not filed.)




                                                                                                                         Statement of Affairs - Page 2
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None    b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately preceding the commencement of
        this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition
        is filed, unless the spouses are separated and a joint petition is not filed.)




        7. Gifts
None    List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and usual gifts to family
        members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100 per recipient. (Married debtors
        filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a joint petition is filed, unless the spouses are
        separated and a joint petition is not filed.)




        8. Losses
None    List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the commencement of
        this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or not a joint petition is filed, unless the
        spouses are separated and a joint petition is not filed.)




        9. Payments related to debt counseling or bankruptcy
None    List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt consolidation,
        relief under the bankruptcy law or preparation of a petition in bankruptcy within one year immediately preceding the commencement of this case.

                                                          DATE OF PAYMENT,                   AMOUNT OF MONEY OR
NAME AND ADDRESS OF PAYEE                                 NAME OF PAYER IF OTHER THAN DEBTOR DESCRIPTION AND VALUE OF PROPERTY

Payee: Frank J. Kokoszka                                  Date of Payment:11/06                                          $501.00
Address:                                                  Payor: Joanna Gierasimiuk
140 South Dearborn
Suite 1610
Chicago, IL 60603


        10. Other transfers
None    a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred either absolutely or as
        security within two years immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include transfers by
        either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




None    b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled trust or similar device of which
        the debtor is a benificiary.




        11. Closed financial accounts
None    List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise transferred within one
        year immediately preceding the commencement of this case. Include checking, savings, or other financial accounts, certificates of deposit, or other instruments;
        shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations, brokerage houses and other financial institutions. (Married
        debtors filing under chapter 12 or chapter 13 must include information concerning accounts or instruments held by or for either or both spouses whether or not a joint
        petition is filed, unless the spouses are separated and a joint petition is not filed.)




                                                                                                                         Statement of Affairs - Page 3
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        12. Safe deposit boxes
None    List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year immediately preceding the
        commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or both spouses whether or not a
        joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




        13. Setoffs
None    List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the commencement of this case. (Married
        debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint petition is filed, unless the spouses
        are separated and a joint petition is not filed.)




        14. Property held for another person
None    List all property owned by another person that the debtor holds or controls.




        15. Prior address of debtor
None    If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor occupied during that period and
        vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either spouse.




        16. Spouses and Former Spouses
None    If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New
        Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the commencement of the case, identify the name of the debtor's
        spouse and of any former spouse who resides or resided with the debtor in the community property state.




        17. Environmental Information
None    For the purpose of this question, the following definitions apply:

        "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic substances, wastes or
        material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or regulations regulating the cleanup of these
        substances, wastes, or material.

        "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated by the debtor,
        including, but not limited to disposal sites.

        "Hazardous Material" means anything defined as hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or contaminant or similar
        termunder an Environmental Law:

        a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or potentially liable under
        or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the Environmental Law:




None    b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material. Indicate the
        governmental unit to which the notice was sent and the date of the notice.




                                                                                                                          Statement of Affairs - Page 4
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None     c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law, with respect to which the debtor is or was a party.
         Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.




         18. Nature, location and name of business
None     a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending dates of all
         businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a partnership, sole proprietor, or was
         self-employed in a trade, profession, or other activity either full- or part-time within six years immediately preceding the commencement of this case, or in which
         the debtor owned 5 percent or more of the voting or equity securities within six years immediately preceding the commencement of this case

                If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates of all
         businesses      in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six years immediately preceding the
         commencment of this case.

                If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates of all
         businesses      in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six years immediately preceding the
         commencment of this case.




None     b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.




[If completed by an individual or individual and spouse]


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto and that
they are true and correct.



       Date   11/06/2009                             Signature       /s/ Joanna Gierasimiuk
                                                     of Debtor


                                                     Signature
       Date
                                                     of Joint Debtor
                                                     (if any)




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In re Joanna Gierasimiuk                                                                                             Case No.
                                                                                                                     Chapter 7



                                                                                                          / Debtor




                                                      CHAPTER 7 STATEMENT OF INTENTION
       Part A -    Debts Secured by property of the estate. (Part A must be completed for EACH debt which is secured by property of the estate. Attach
                   additional pages if necessary.)


Property No. 1

Creditor's Name :                                                                 Describe Property Securing Debt :
 AHMSI                                                                             Residence



  Property will be (check one) :

            Surrendered               Retained

  If retaining the property, I intend to (check at least one) :

            Redeem the property

            Reaffirm the debt

            Other. Explain                                                                                     (for example, avoid lien using 11 U.S.C § 522 (f)).

  Property is (check one) :

            Claimed as exempt                   Not claimed as exempt

Property No. 2

Creditor's Name :                                                                 Describe Property Securing Debt :
 GMAC                                                                              Residence



  Property will be (check one) :

            Surrendered               Retained

  If retaining the property, I intend to (check at least one) :

            Redeem the property

            Reaffirm the debt

            Other. Explain                                                                                     (for example, avoid lien using 11 U.S.C § 522 (f)).

  Property is (check one) :

            Claimed as exempt                   Not claimed as exempt




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       Part B -    Personal property subject to unexpired leases. (All three columns of Part B must be completed for each unexpired lease. Attach
                   additional pages if necessary.)

Property No.
Lessor's Name:                                                 Describe Leased Property:                                               Lease will be assumed
                                                                                                                                       pursuant to 11 U.S.C. §
 None                                                                                                                                  365(p)(2):

                                                                                                                                          Yes              No




                                                                     Signature of Debtor(s)
        I declare under penalty of perjury that the above indicates my intention as to any property of my estate securing a debt and/or
        personal property subject to an unexpired lease.

Date: 11/06/2009                                             Debtor: /s/ Joanna Gierasimiuk

Date:                                                        Joint Debtor:




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        Joanna Gierasimiuk                                                                          Case No.
In re
        fka Joanna Tylka                                                                            Chapter 7
                                                                                         / Debtor
        Attorney for Debtor:   Frank J. Kokoszka

                                   STATEMENT PURSUANT TO RULE 2016(B)

The undersigned, pursuant to Rule 2016(b), Bankruptcy Rules, states that:
1. The undersigned is the attorney for the debtor(s) in this case.

2. The compensation paid or agreed to be paid by the debtor(s), to the undersigned is:
   a) For legal services rendered or to be rendered in contemplation of and in
      connection with this case . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $           2,000.00
   b) Prior to the filing of this statement, debtor(s) have paid . . . . . . . . . . . . . . . $                    501.00
   c) The unpaid balance due and payable is . . . . . . . . . . . . . . . . . . . . . . . . . . . $               1,499.00

3. $             299.00          of the filing fee in this case has been paid.

4. The Services rendered or to be rendered include the following:
   a) Analysis of the financial situation, and rendering advice and assistance to the debtor(s) in determining whether to
      file a petition under title 11 of the United States Code.
   b) Preparation and filing of the petition, schedules, statement of financial affairs and other documents required by the
      court.
   c) Representation of the debtor(s) at the meeting of creditors.

5. The source of payments made by the debtor(s) to the undersigned was from earnings, wages and compensation for
   services performed, and
      Husband

6. The source of payments to be made by the debtor(s) to the undersigned for the unpaid balance remaining, if any, will
   be from earnings, wages and compensation for services performed, and
     Husband

7. The undersigned has received no transfer, assignment or pledge of property from debtor(s) except the following for
   the value stated:
      None

8. The undersigned has not shared or agreed to share with any other entity, other than with members of undersigned's
   law firm, any compensation paid or to be paid except as follows:
      None

Dated: 11/06/2009                              Respectfully submitted,


                                              X /s/ Frank J. Kokoszka
                        Attorney for Petitioner: Frank J. Kokoszka
                                                 Kokoszka & Janczur, P. C.
                                                 140 South Dearborn
                                                 Suite 1610
                                                 Chicago IL 60603
                                                 312-443-9600
                                                 fkokoszka@k-jlaw.com
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In re Joanna Gierasimiuk                                                                  Case No.
      fka Joanna Tylka                                                                    Chapter 7
                                                                            / Debtor
    Attorney for Debtor:   Frank J. Kokoszka



                                       VERIFICATION OF CREDITOR MATRIX


                  The above named Debtor(s) hereby verify that the attached list of creditors is true and correct to the

   best of our knowledge.




Date: 11/06/2009                                                   /s/ Joanna Gierasimiuk
                                                                   Debtor
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                  PO Box 660029
                  Dallas, TX 752466

                  Capital One
                  c/o Blatt, Hasenmiller,
                  125 South Wacker Drive, #400
                  Chicago, IL 60606

                  GEMB/Banana Republic
                  P.O. Box 981400
                  El Paso, TX 79998

                  GMAC
                  PO BOx 4622
                  Waterloo, IA    50704

                  HSBC Bank
                  P.O. Box 5253
                  Carol Stream, IL       60197

                  HSBC/Carson
                  P.O. Box 15521
                  Wilmington, DE    19805

                  Illinois Collection Services
                  8231 Commerce Drive, Suite 100
                  Tinley Park, IL 60487

                  Nationwide Credit Company
                  815 Commerce Drive
                  Oak Brook, IL 60523

                  TNB - Target
                  P.O. Box 673
                  Minneapolis, MN    55440-0693

                  WFNNB/Victoria's Secret
                  P.O. Box 182128
                  Columbus, OH 43218
